Case 3:16-cv-00463-JWD-RLB Document 2-4 07/13/16 Page 1 of 19

Exhibit I
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Case 3:16-cv-00463-JWD-RLB Document 2-4 07/13/16 Page 5 of 19

Exhibit J
IN THE UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF
LOUISIANA

American Civil Liberties Union of Louisiana;
Louisiana Chapter of the National Lawyers’ Guild;
New Orleans Workers’ Center for Racial Justice;
Black Youth Project 100,

Plaintiffs,
~VS-
City of Baton Rouge; Baton Rouge Police CIVIL ACTION
Department; Carl Dabadie, Jr., in his official capacity NO.: CTO

as Chief of the Baton Rouge Police Department;
Louisiana State Police; Louisinana Department of
Public Safety; Col. Michael Edmonson, in his official
capacity as Superintendent of the Louisiana State
Police; East Baton Rouge Sheriff's Department; Sid
J. Gautreaux HI, in his official capacity as Sheriff of
the East Baton Rouge Sheriff's Department; Jeff
Landry, in his official capacity as Attorney General

Motion for
Temporary
Restraining Order
and Preliminary

Injuncti
of the State of Louisiana; Kip Holden in his official nyenenen
capacity as the Mayor-President of East Baton Rouge Oral Areument
Parish: Hillar C. Moore, IU, in his official capacity as Requested en

District Attorney for East Baton Rouge Parish;
Department of Public Safety (Louisiana State Police)

Defendants.

 

DECLARATION OF JULIEN BURNS
Pursuant to 28 U.S.C.§ 1746, I hereby declare as follows:

1. My name is Julien Burns. I am 28 years old and live at 725 Congress Street in
New Orleans.

2. I attended the protest over the death of Alton Sterling on Sunday, July 10. After
the march, the protest became more organic and was at the intersection of France
and East Boulevard.

3. The police directed us to be off public property, so I went onto the property of a
woman who said that we could be on her lawn.
 

 

 

 
 

 

 

 

 

 
Case 3:16-cv-00463-JWD-RLB Document 2-4 07/13/16 Page 9 of 19

Exhibit K
IN THE UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF LOUISIANA

American Civil Liberties Union of Louisiana; Louisiana
- Chapter of the National Lawyers’ Guild; New Orleans
Workers* Center for Racial Justice: Black Youth Project 100,

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Plaintiffs,
-¥S-

City of Baton Rouge; Baton Rouge Police Department; Carl
Dabadie, Jr., in his official capacity as Chief of the Baton CIVIL ACTION
Rouge Police Department; Louisiana State Police; Louisinana NO.:
Department of Public Safety; Col. Michael Edmonson, in his
official capacity as Superintendent of the Louisiana State
Police; East Baton Rouge Sheriff's Department; Sid J.

Gautreaux III, in his official capacity as Sheriff of the East Motion for
Baton Rouge Sheriff's Department; Jeff Landry, in his official Temporary
capacity as Attorney General of the State of Louisiana; Kip Restraining Order
Holden in his official capacity as the Mayor-President of East and Preliminary
Baton Rouge Parish; Hillar C. Moore, III, in his official Injunction
capacity as District Attorney for Bast Baton Rouge Parish;
Department of Public Safety (Louisiana State Police} Oral Argument

oo , Requested
Defendants.

 

DECLARATION OF RANDOLPH CARR
'--Pursuant to 28 U.S.C.§ 1746, [hereby declare as follows:

1. ‘My name is Randolph Carr and I live in New Orleans, Louisiana.

2. I was there in Baton Rouge, Louisiana on July 10, 2016, while protests were
happening. As a member of the community-organizing group, BYP100, I decided

~~ ™tertravel to Baton Rouge to support my friends protesting the treatment of the
Black community by law enforcement. I also went to observe police tactics being
used against protestors, since I had heard about the use of tear gas and AR15s by
police. I wanted to make sure people were safe.

3. Atabout 10:00pm, as I was peacefully gathered on Airline Street alongside
others, I saw two police lines forming in front of us. The police were carrying
what looked like AR15s.

4, Suddenly, without making any order to disperse, police executed a maneuver in
which they took a collective running step forward. People stepped back to the
edge of the sidewalk, but the police again did the same sort of maneuver.

5. At that point, I saw the police form a circle around a man and arrest him, and I
heard the sound of tasers and screaming all around. In the midst of this, I heard
from people around me that someone else had been taken. I went to try to get
close to that guy to get his name. The police had formed a circle around him
though, and I couldn’t find out.

‘6. The police stayed in this area for another 15 minutes-before walking back to
poliée station. Then’ ie them turn off the lights at the station. -

7, The whole time the police were there, | was just trying to make sure that the folks
who were with me were safe. I wasn’t that surprised that they acted like that -
because the police usually do that.

8. The intended effect is for people to be afraid. And many people who get caught
up in these situations are aftaid. They are arresting people so arbitrarily that
people are getting even more agitated. That fear is producing an energy where
people are on edge. Who knows what will happen to that energy?

9, We were just hanging out on the corner until the police arrived. When the police

arrive, suddenly it’s a confrontation. That tactic is completely out of whack.
10. Protest needs to happen because people are just fed up. It’s important for that to
be recognized and for us to see other people who are fed up too.

11. ’m not under the iltusion that I have a first amendment right. Many people that
are out there understand that it’s an illusion. We're literally just gathering on a

Gatinigaic comer, and this is whatthe police do, What assumptions do you have to make to

react that way to people hanging out on a corner?
Executed on the 12th day of July 2016,
ats

Randolph Carr
Case 3:16-cv-00463-JWD-RLB Document 2-4 07/13/16 Page 12 of 19

Exhibit L
IN THE UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF LOUISIANA

- Amgrican Civil Liberties Union of Louisigna;, Louisiana
the National Lawyers’ Guild; New Orleans
enter for Racial Justice; Black Youth Projeét 100,

 
 

ag , Plaintiffs,
“V5-

City of Baton Rouge; Baton Rouge Police Department; Carl
Dabadie, Jr., in his official capacity as Chief of the Baton
Rouge Police Department; Louisiana State Police; Louisinana
Department of Public Safety; Col, Michael Edmonson, in his
official capacity as Superintendent of the Louisiana State
Police; East Baton Rouge Sheriff's Department; Sid J.
Gautreaux III, in his official capacity as Sheriff of the East
Baton Rouge Sheriff's Department; Jeff Landry, in his official
capacity as Attorney General of the State of Louisiana; Kip
[Holden in his official capacity as the Mayor-President of East
Baton. Rouge-Parish; Hillar C. Moore, I, in his official
capacity as District Attorney for East Baton Rouge Parish;
Department of Public Safety (Louisiana State Police)

Defendants.

DECLARATION OF SABRINA CARTER

Pursuant to 28 U.S.C. § 1746, [hereby declare as follows:

 

CIVIL ACTION
NoO.:

Motion for
Temporary
Restraining Order
and Pretiminary
Injunction

Oral Argument
Requested

1. My name is Sabrina Carter. [ grew up in New Orleans, Louisiana and I still live in

New Orleans.

2. I went to the protests against the shooting of Alton Sterling in Baton Rouge on

July 10,201T6- 7

3. I came to the protests because | have seen the police target and harass people in
the communities where I’ve lived, in Black communities. What happened in the
shooting of Alton Sterling reflected back those experiences and so I went to the

protests to speak out against this.

4, When I arrived in Baton Rouge, people were already marching toward the Capitol _

and I joined that march. It was very peaceful.

5. When the march left the Capitol area, we walked on the sidewalks of Government
Street. I was following along as we were all just walking, and then I saw at one
point that police cars had driven and blocked off the street. We couldn’t go any

further that way.

6. We turned onto another street because we couldn’t continue on Government
Street. But then up ahead was also blocked by the police. We were just standing
because we had to figure out what to do. It was hard to move.
7. First the police told us that we had to get off of the streets, so we got off the
streets. Then we were told that we had to get off the sidewalks and then we got off
the sidewalks, But the police still came after us, I don’t know why they had to go
that far and respond to us like that. We were peaceful,

8.. The car that | came in was parked on the original street where this was all taking
place. So if I decided that I wanted to get away and go, there was nothing I could
do. The police were all over and there was no way to get to the car I arrived in.

9. I was standing in the yard of a house where a woman told us that it was okay if
we stayed on her lawn. But then an armored police car came out and was rolling
toward us. A SWAT team with shields and everything started approaching us and
we backed up. They used a sound cannon to make an annoying ringing in the
direction of the protestors.

10. I went to a different house to get away from the police. I stood in the lawn of the
house further away from the policy. The police were proceeding toward us and

- toward the first house’ where I stood in the yard to be safe, The police were yelling
at us to dismantle or disperse. And we didn’t know why they had to go that far.
There were people asking the police from a distance, “Why can’t we protest?

..Why-can’t we do what we came out here to do, to make a statement?”

‘11. The police kept coming and were still yelling at us to disperse, I could see people

-were Cluttering in the yard in the first house. But the police marched forward and
were following everyone aggressively. The homeowner was on her porch, saying

~ it’s okay, it’s okay for them to be in the yard. I heard someone say, “they came
into her house.”

12. Because the police. were still coming forward, I crossed the block and went to a
third house to stand in the yard to be safe. I was trying to see where the car I came
in was at. I was afraid to do anything.

13. The police came further. down the block toward where I was standing. They were

rushing toward where I was, chasing everyone. The police came to about five feet
away from me, They pointed big guns at us.

14. The protesters that were standing by me told us to put our hands up. I didn’t want
the police to think that I did anything wrong. I had a poster and a cardboard sign.
But I dropped both of them and put both of my hands up.

15. Even as the police were coming closer, I still thought they wouldn’t do it--

wouldn’t rush all of us and chase and arrest so many people. I thought I would
have time to get away. But the police came really quickly. I kept my hands out
and started to walk back, I heard the police talking to each other saying grab him,
grab her, ] thought I was going to be grabbed. People around me got arrested. |
saw someone be tackled to the ground. Fortunately, I wasn’t grabbed. I ran away
and the police didn’t arrest me but I was terrified to be so close to police with
their guns pointed at us.

16. The police were still following, But I went to McDonald’s. There were about 20
people who had gone there for shelter. Then someone from McDonald’s told us
we have to leave.

17. I went out to protest because I’ve seen the police target people in my community.
When I heard that Alton STerling was shot by the police, it struck a chord with so
many other stories of people in the Black community.
18. I used to get stopped all the time by the police when I was driving the car I used

to own. I and my partner both had decent jobs and were trying to buy a house. But
oy none of that mattered to the cops, I kept being stopped by the police in my
neighborhood and they would ask me who the car belongs to. It was my car.

19. They stopped me while I was driving because they thought I was a young black
man. The windows of the car were tinted just a little bit. So even though I am a
black woman, the police thought there was a black man in the car and they would
stop me, So I started riding with the windows down around town so the cops
could see that it was a woman.

20, It used to be much better. In about 2011, police used to walk the beats, walk the
neighborhood on foot, They knew a lot of us as a result, and it was much better.
Now, police stop people just because they’re black.

Executed on this 12th day of July 2016.

Keb rine IBS

Sabrina Carter
Case 3:16-cv-00463-JWD-RLB Document 2-4 07/13/16 Page 16 of 19

Exhibit M
IN THE UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF

LOUISIANA

American Civil Liberties Union of Louisiana;
Louisiana Chapter of the National Lawyers’ Guild;
New Orleans Workers’ Center for Racial Justice;
Black Youth Project 100,

Plaintiffs,
-VS-

City of Baton Rouge; Baton Rouge Police
Department; Carl Dabadie, Jr., in his official capacity
as Chief of the Baton Rouge Police Department;
Louisiana State Police; Louisinana Department of
Public Safety; Col. Michael Edmonson, in his official
capacity as Superintendent of the Louisiana State
Police; East Baton Rouge Sheriff's Department; Sid
J. Gautreaux II, in his official capacity as Sheriff of
the East Baton Rouge Sheriff's Department; Jeff
Landry, in his official capacity as Attorney General
of the State of Louisiana; Kip Holden in his official
capacity as the Mayor-President of East Baton Rouge
Parish; Hillar C. Moore, III, in his official capacity as
District Attorney for East Baton Rouge Parish;
Department of Public Safety (Louisiana State Police)

Defendants.

DECLARATION OF TAMMY LYNN CHENEY

Pursuant to 28 U.S.C.§ 1746, I hereby declare as follows:

 

CIVIL ACTION
NO:

Motion for
Temporary
Restraining Order
and Preliminary
Injunction

Oral Argument
Requested

1. My name is Tammy Lynn Cheney. I was born on December 5, 1974.

2. I attended the peaceful march in Baton Rouge on July 10, 2016.

3. I was traveling through Louisiana on my way home to North Carolina with my 17-
year-old daughter and 5-year-old son, and after attending the march in New Orleans
on July 8, I decided to stay in the area to attend the Baton Rouge march. I attended
the march because I have witnessed many incidents of police misconduct and have

been harassed myself in the past.
10.

11.

Two years ago, while | was at the grocery store, police with dogs came to my
house, tore apart the house, dragged my kids out—my daughter was then 15, and
my older son was 17—and had them on the ground with dogs and guns on them.
Then they realized they had made a mistake and by the time I got home they were
gone. But by then ail of the neighbors had seen what happened, and we were
evicted soon after. We left Florida because of that. So my heart went out to the
victim’s family. I knew I needed to stand with these people. It isn’t just a
black/white issue; police brutality affects everyone.

The New Orleans and Baton Rouge marches were the first protests that my
daughter, son, and | had ever attended. We had never done it before. The protest
was so peaceful on Friday in New Orleans, then so peaceful on Sunday when we
went to the Capitol and back.

After the rally at the Capitol, we marched back to the church and then stood in line
for food for about 45 minutes before getting in our car, which was parked by the
church. We were planning to drive out of town to continue our trip.

We took the route our Google maps told us to take, but when we got to about East
and Government, the police closed off the whole road in front of us and we couldn’t
continue. So we pulled into a parking lot to wait until the road re-opened and the
traffic lessened so we could get out.

My 17-year-old daughter decided to go around the comer to videotape what was
happening while we waited. J stayed at the car, standing on top of the car holding
signs with my son and another woman whom I had just met. My sign had a Bernie
Sanders quote on it.

After some amount of time, | all of a sudden saw cops with gas masks and shields.
There were about 30 or 40 of them coming my direction toward whatever was
going on down the road. Then they went around the block and came up the road
directly behind us. | told my son to get into the car and lock the doors. I had the car
running and the air-conditioning on for him. I was still standing silently on top of
my car, holding my sign. At no point did I yell anything or say anything to the
police.

In that time frame, my daughter had come back to the car. The other woman was
still on top of the car, and I jumped down and said, “Alexis, get in the car and I’ll be
right back — I’m going to take a couple more pictures and then we'll leave.” |
walked a short distance away from the car to videotape, and the police immediately
arrested my daughter. She told others my name, and I heard the crowd screaming
“Tammy!” and then “Let her go! Let her go!” over and over.

As soon as I heard my name, I ran back toward the car, but the police blocked me
and wouldn’t let me pass. In the meantime, they had taken my daughter away, the
other woman had left, and they were getting footage of my son alone in the car.
After they got that video, they let me break through and get to the car.
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Immediately afterward, however, a police officer grabbed my arm, said, “You're
going away for a felony! You abandoned your son!” and arrested me. His name was
Larouse.

I said to Officer Larouse, “This is exactly why we’re here, we’re standing for
justice.” He said, “do you want me to throw another felony charge at you?” I said to
another officer nearby, “You’re his brother, aren’t you? You can’t let him do this to
me! He’s not telling the truth!” He said quietly so that Officer Larouse couldn’t
hear, “Yes, he’s my brother. Don’t worry, this is not a felony; it’s going to be a
misdemeanor.”

I was trying to look at my phone to see if the video was still going, and the arresting
officer grabbed my phone but couldn’t tell that it was filming. He gave my phone
back, and I started calling people to tell them I was under arrest. He took my phone
and tried to put it in the bushes. When | appealed to another officer — Officer Bell -
about it, he said, “I can’t do anything for you, he’s my boss.” Later, Officer Larouse
put my phone on top of the squad car, and Officer Bell stuck it back in my bag.

We were in the holding cell for eight hours. Then they split my daughter and me up
when they put us in with general population. They said explicitly to my daughter
that we were being separated because we had asked to be together. So my daughter
was in an adult male prison alone.

16. They gave us no toilet paper or blankets. Most people didn’t even get a bottom

17.

18.

Executed on this

AU
/ Tammy Lyfn Cheney

sheet to cover the bunk. It felt like it was 40 degrees in there; in my cell we were all
huddled together under a mattress because we were so cold and didn’t have any
blankets.

When I got back to my car, I found that police had gone through all of the
belongings in my car, taken my protest sign, damaged my trunk, and broken off my
side rearview mirror.

This experience scared the daylights out of me, and I will never go to a protest
again.

day-pf July 2016.

   
